                      UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION – DETROIT

    IN RE:                                                      Case No. 14-59311
    MAURICE GORGES                                              Hon. Thomas J. Tucker
    DEBTOR                                                      Chapter 13
    ______________________________/

                   ORDER GRANTING DEBTOR’S REQUEST FOR
                  VOLUNTARY DISMISSAL OF CHAPTER 13 CASE

           This matter is before the Court on the Debtor’s request for voluntary

    dismissal of his Chapter 13 case pursuant to 11 USC §1307(b). Having

    been advised that this case has not been converted under 11 USC §706,

    11 USC §1112 or 11 USC §1128, THE COURT ORDERS that the Debtor’s

    request is GRANTED and this case is DISMISSED.

                                                	  	  
    	  




                                             	  	  	  
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